O A O 472 (Rev. 12/03) O rder of D etention Pending Trial


                                             U NITED STATES D ISTRICT C OURT
                          WESTERN                                            District of                                NORTH CAROLINA
          UNITED STATES OF AMERICA
                                   V.                                                     ORDER OF DETENTION PENDING TRIAL
    GROVER ANDREW PRITCHARD, JR.                                                        Case     1:09 cr 23-9
                                Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                            Part I— Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                 .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                        Alternative Findings (A)
X    (1) There is probable cause to believe that the defendant has committed an offense
           X  for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841                                        .
              under 18 U.S.C. § 924(c).
X    (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
     (1) There is a serious risk that the defendant will not appear.
X    (2) There is a serious risk that the defendant will endanger the safety of another person or the community.

                                            SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                            Part II—W ritten Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by X clear and convincing evidence                                    a prepon-
derance of the evidence that
                                       SEE ATTACHED ADDENDUM TO DETENTION ORDER




                                                   Part III— Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.

                        D ate                                                                               Signature of Judge
                                                                                            D ennis L. H ow ell, U nited States M agistrate Judge
                                                                                                         N am e and Title of Judge

*Insert as applicable: (a) C ontrolled Substances A ct (21 U .S.C . § 801 et seq.); (b) C ontrolled Substances Import and Export A ct (21 U .S.C . § 951 et seq.); or (c)
Section 1 of A ct of Sept. 15, 1980 (21 U .S.C . § 955a).


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                                IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         ASHEVILLE DIVISION
                                              1:09 cr 23-9

          UNITED STATES OF AMERICA,

          Vs.                                                                      ADDENDUM TO
                                                                                  DETENTION ORDER
          GROVER ANDREW PRITCHARD, JR.
          _______________________________

          I.    FACTORS CONSIDERED

                18 U.S.C. § 3142:
                (g) Factors to be considered.--The judicial officer shall, in determining whether there are
                conditions of release that will reasonably assure the appearance of the person as required and
                the safety of any other person and the community, take into account the available information
                concerning--
                 (1) The nature and circumstances of the offense charged, including whether the offense is a
                 crime of violence, a Federal crime of terrorism, or involves a minor victim or a controlled
                 substance, firearm, explosive, or destructive device;
                 (2) the weight of the evidence against the person;

                 (3) the history and characteristics of the person, including--

                      (A) the person's character, physical and mental condition, family ties, employment,
                           financial resources, length of residence in the community, community ties, past
                            conduct, history relating to drug or alcohol abuse, criminal history, and record
                            concerning appearance at court proceedings; and
                      (B) whether, at the time of the current offense or arrest, the person was on probation,
                          on parole, or on other release pending trial, sentencing, appeal, or completion of
                          sentence for an offense under Federal, State, or local law; and
                (4) the nature and seriousness of the danger to any person or the community that would be
                   posed by the person's release.




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               II.                                        FINDINGS
  As to factor:


  (g)(1): The nature and circumstances of the offense charged involve a controlled substance,
 that being crack cocaine.


  (g)(2): The weight of the evidence against the person appears to be at the level of probable
 cause as has been found by the grand jury in issuing the bill of indictment.


  (g)(3): The history and characteristics of the person


     (A) Family ties, employment, financial resources, length of residence in the community,
  community ties, past conduct, history relating to drug or alcohol abuse, criminal history
  and record concerning appearance at court appearances indicate that the defendant has
  family ties, his sister, he has employment and a long length of residence in the Burke
  County community, having resided there all of his life. The defendant is in good health.
  The defendant denies any substance abuse problems. In regard to the defendant’s criminal
  history relating to drug or alcohol abuse, the defendant has the following convictions:
         Offense                                                           Conviction Date
 Driving while impaired                                                  08/05/86
 Driving while impaired                                                  02/09/88
 Misdemeanor maintaining a vehicle or dwelling place for the purpose of
    keeping a controlled substance                                      06/30/94
 Driving while impaired                                                 09/18/96

 In addition to the above referenced offenses, the defendant has the following additional
 criminal convictions:
           Offense                                                          Conviction Date
 Carrying a concealed weapon                                                   08/05/86
 Worthless check                                                               05/16/00

 The defendant’s record concerning appearance at court appearances shows that the defendant
 appears in court as he is scheduled to do.

      (B) At the time of the current offense or arrest, the defendant was on probation, parole
  or other release pending trial, sentencing, appeal or completion of sentence. It appears that
  this factor does not exist.


 (g)(4): The nature and seriousness of the danger to any person or the community that would
 be posed by the person’s release indicate that the release of the defendant would create a
 risk of harm or danger to any other person or the community. The nature of the charge
 against the defendant creates a presumption that the release of the defendant would create



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 a risk of harm or danger to any other person or the community. This presumption is subject
 to rebuttal by the defendant. The defendant’s criminal record does not show any convictions
 for crimes of violence and no felony convictions for any type of drug offense. Upon the
 recommendation by the United States Probation Office, this court directed that the probation
 officer be allowed to conduct a drug test on the defendant. The preliminary results of the test
 shows that the defendant tested positive for the use of cocaine. As a result of that positive
 test, the undersigned finds that the presumption of detention has not been rebutted and will
 detain the defendant. However, when a final and more detailed chemical analysis has been
 obtained. by the United States Probation Office, this matter is directed to be immediately
 placed back on the calendar for further hearing to determine the result of the more detailed
 analysis and to determine whether or not the defendant shall be released on terms and
 conditions of pretrial release at that time.
 The undersigned does find by a preponderance of the evidence that the presumption of
 detention based upon a risk of flight has been rebutted. The defendant has never resided
 outside of Burke County, NC and there does not appear to be any risk of flight on his part.

 WHEREFORE, it is ORDERED that the defendant be detained pending further
 proceedings in this matter. When the probation office receives the detailed chemical analysis
 that office shall contact the clerk and request this matter be placed on the calender.
                                           Signed: April 20, 2009




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